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                                       KAZEROUNI LAW GROUP, APC                   HYDE & SWIGART
                                  1
                                       Abbas Kazerounian, Esq. (249203)           Joshua B. Swigart, Esq. (225557)
                                  2    ak@kazlg.com                               josh@westcoastlitigation.com
                                       Matthew M. Loker, Esq. (279939)            2221 Camino Del Rio South, Suite 101
                                  3
                                       ml@kazlg.com                               San Diego, CA 92108
                                  4    245 Fischer Avenue, Suite D1               Telephone: (619) 233-7770
                                       Costa Mesa, CA 92626                       Facsimile: (619) 297-1022
                                  5
                                       Telephone: (800) 400-6808
                                  6    Facsimile: (800) 520-5523
                                  7
                                      Attorneys for Plaintiff,
                                  8   Suzanne Coleman f/k/a Suzanne Rezendes
                                  9
                                                           UNITED STATES DISTRICT COURT
                                 10                      SOUTHERN DISTRICT OF CALIFORNIA
                                 11
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                                       SUZANNE COLEMAN F/K/A
 1303 EAST GRAND A VE, STE 101




                                                                                 Case No.:          '17CV1133 L         BLM
  ARROYO GRANDE, CA 93420




                                 12    SUZANNE REZENDES,

                                 13                      Plaintiff,              COMPLAINT FOR DAMAGES
                                                                                 FOR VIOLATION OF:
                                 14                           v.

                                 15    MICHAEL & ASSOCIATES,                         I.      THE FAIR DEBT
                                       PC, A PROFESSIONAL                                    COLLECTION
                                 16    CORPORATION,                                          PRACTICES ACT, 15
                                 17                                                          U.S.C. § 1692, ET SEQ.;
                                                         Defendant.                          AND,
                                 18
                                 19                                                  II.     THE ROSENTHAL FAIR
                                                                                             DEBT COLLECTION
                                 20                                                          PRACTICES ACT, CAL.
                                 21                                                          CIV. CODE §§ 1788, ET
                                                                                             SEQ.
                                 22
                                 23                                              JURY TRIAL DEMANDED

                                 24   ///

                                 25   ///

                                 26   ///

                                 27   ///

                                 28
                                      Case # 17-cv-                    Coleman v. Michael & Associates, PC, A Professional Corporation
                                                                          COMPLAINT
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                                  1                                          INTRODUCTION
                                  2   1.   The United States Congress has found abundant evidence of the use of abusive,
                                  3           deceptive, and unfair debt collection practices by many debt collectors, and has
                                  4           determined that abusive debt collection practices contribute to the number of
                                  5           personal bankruptcies, to marital instability, to the loss of jobs, and to invasions
                                  6           of individual privacy. Congress wrote the Fair Debt Collection Practices Act,
                                  7           15 U.S.C. § 1692 et seq, to eliminate abusive debt collection practices by debt
                                  8           collectors, to insure that those debt collectors who refrain from using abusive
                                  9           debt collection practices are not competitively disadvantaged, and to promote
                                 10           consistent State action to protect consumers against debt collection abuses.
                                 11   2.   The California legislature has determined that the banking and credit system
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                                 12           and grantors of credit to consumers are dependent upon the collection of just
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                                 13           and owing debts and that unfair or deceptive collection practices undermine the
                                 14           public confidence that is essential to the continued functioning of the banking
                                 15           and credit system and sound extensions of credit to consumers. The Legislature
                                 16           has further determined that there is a need to ensure that debt collectors exercise
                                 17           this responsibility with fairness, honesty, and due regard for the debtor’s rights
                                 18           and that debt collectors must be prohibited from engaging in unfair or deceptive
                                 19           acts or practices.1
                                 20   3.   SUZANNE COLEMAN F/K/A SUZANNE REZENDES (“Plaintiff”), by
                                 21           Plaintiff’s attorneys, brings this action to challenge the actions of MICHAEL
                                 22           & ASSOCIATES, PC, A PROFESSIONAL CORPORATION (“Defendant”)
                                 23           with regard to attempts by Defendant, a debt collector, to unlawfully and
                                 24           abusively collect a debt allegedly owed by Plaintiff, and this conduct caused
                                 25           Plaintiff damages.
                                 26   ///
                                 27   ///
                                 28   1
                                          Cal. Civ. Code §§ 1788.1 (a)-(b)
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                                  1   4.   Plaintiff makes these allegations on information and belief, with the exception
                                  2         of those allegations that pertain to a plaintiff, or to a plaintiff’s counsel, which
                                  3         Plaintiff alleges on personal knowledge.
                                  4   5.   While many violations are described below with specificity, this Complaint
                                  5         alleges violations of the statute cited in its entirety.
                                  6   6.   Unless otherwise stated, all the conduct engaged in by Defendant took place in
                                  7         California.
                                  8   7.   Any violations by Defendant were knowing, willful, and intentional, and
                                  9         Defendant did not maintain procedures reasonably adapted to avoid any such
                                 10         violation.
                                 11   8.   Unless otherwise indicated, the use of Defendant’s name in this Complaint
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                                 12         includes all agents, employees, officers, members, directors, heirs, successors,
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                                 13         assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
                                 14         Defendant’s named.
                                 15                                        JURISDICTION AND VENUE
                                 16   9.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331; 15 U.S.C. § 1692;
                                 17         and, 28 U.S.C. § 1367 for supplemental state claims.
                                 18   10.   This action arises out of Defendant’s violations of (i) the Fair Debt Collection
                                 19         Practices Act, 15 U.S.C. § 1692, et seq.; and, (ii) the Rosenthal Fair Debt
                                 20         Collection Practices Act, Cal. Civ. Code § 1788.17 (“RFDCPA”).
                                 21   11.   Because Defendant conducts business within the State of California, personal
                                 22         jurisdiction is established.
                                 23   12.   Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                 24         Plaintiff resides in the County of San Diego, State of California which is within
                                 25         this judicial district; (ii) the conduct complained of herein occurred within this
                                 26         judicial district; and, (iii) Defendant conducted business within this judicial
                                 27         district at all times relevant.
                                 28

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                                  1                                           PARTIES
                                  2   13.   Plaintiff is a natural person who resides in the County of San Diego, State of
                                  3         California, from whom Defendant sought to collect a consumer debt which was
                                  4         due and owing or alleged to be due and owing from Plaintiff. In addition,
                                  5         Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3); and,
                                  6         a “debtor” as that term is defined by Cal. Civ. Code § 1788.2(h).
                                  7   14.   Defendant is a law firm operating in the State of California.
                                  8   15.   Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
                                  9         ordinary course of business, regularly, on behalf of themselves or others,
                                 10         engage in “debt collection” as that term is defined by California Civil Code §
                                 11         1788.2(b), and is therefore a “debt collector” as that term is defined by
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                                 12         California Civil Code § 1788.2(c); and, 15 U.S.C. § 1692a(6).
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                                 13   16.   This action arises out of a “debt” as that term is defined by Cal. Civ. Code §
                                 14         1788.2(d) that was incurred as a result of a “consumer credit transaction” as
                                 15         defined by Cal. Civ. Code § 1788.2(e).
                                 16                                 FACTUAL ALLEGATIONS
                                 17   17.   At all times relevant, Plaintiff is an individual residing within the State of
                                 18         California.
                                 19   18.   Sometime prior to 2016, Plaintiff incurred a debt to the original creditor, Bank
                                 20         of the West, for a consumer credit card.
                                 21   19.   This account was transferred to Defendant for collection after Plaintiff
                                 22         defaulted.
                                 23   20.   In this regard, Defendant initiated multiple telephonic and written
                                 24         communications to Plaintiff throughout 2016.
                                 25   21.   On September 23, 2016, Defendant sent Defendant’s final written
                                 26         communication to Plaintiff.
                                 27   22.   This September 23, 2016 was personally signed by Lina Michael, Esq.,
                                 28         Defendant’s principal attorney.

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                                  1   23.   The September 23, 2016 written communication stated the following:
                                  2
                                  3
                                  4   24.   Moreover, the September 23, 2016 written communication also stated:
                                  5
                                  6
                                  7
                                  8   25.   No such lawsuit has been filed against Plaintiff by either Defendant nor Bank
                                  9         of the West despite representing that Defendant was in the process of filing said
                                 10         lawsuit approximately nine months ago.
                                 11   26.   The threat to file a lawsuit against Plaintiff on behalf of the original creditor for
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                                 12         more than $31,000 plus court costs was intended to induce a false sense of
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                                 13         urgency of behalf of Plaintiff.
                                 14   27.   The tone of Defendant’s written communication was one of intimidation and
                                 15         was intended to unfairly effect collection of Plaintiff’s debt.
                                 16   28.   Said written communication was also designed to instill the belief that dire
                                 17         consequences would occur absent payment by Plaintiff.
                                 18   29.   Through this conduct, Defendant violated 15 U.S.C. § 1692d by engaging in
                                 19         conduct the natural consequence of which was to harass, oppress and abuse
                                 20         Plaintiff in connection with the collection of the debt.            This section is
                                 21         incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
                                 22         Defendant violated Cal. Civ. Code § 1788.17.
                                 23   30.   Through this conduct, Defendant violated 15 U.S.C. § 1692e by using false,
                                 24         deceptive, and misleading representations in connection with the collection of
                                 25         Plaintiff’s alleged debt. This section is incorporated into the RFDCPA through
                                 26         Cal. Civ. Code § 1788.17; thus, Defendant violated Cal. Civ. Code § 1788.17.
                                 27   ///
                                 28   ///

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                                  1   31.   Through this conduct, Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely
                                  2         representing the character, amount, and legal status of the debt in connection
                                  3         with the collection of Plaintiff’s alleged debt. This section is incorporated into
                                  4         the RFDCPA through Cal. Civ. Code § 1788.17; thus, Defendant violated Cal.
                                  5         Civ. Code § 1788.17.
                                  6   32.   Through this conduct, Defendant violated 15 U.S.C. § 1692e(5) by threatening
                                  7         to take action against Plaintiff that was not intended to be taken in connection
                                  8         with the collection of Plaintiff’s alleged debt. This section is incorporated into
                                  9         the RFDCPA through Cal. Civ. Code § 1788.17; thus, Defendant violated Cal.
                                 10         Civ. Code § 1788.17.
                                 11   33.   Through this conduct, Defendant violated 15 U.S.C. § 1692e(10) by using false
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                                 12         representations and deceptive means to collect Plaintiff’s alleged debt. This
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                                 13         section is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17;
                                 14         thus, Defendant violated Cal. Civ. Code § 1788.17.
                                 15   34.   Through this conduct, Defendant violated 15 U.S.C. § 1692f by using unfair
                                 16         and unconscionable means to collect Plaintiff’s alleged debt. This section is
                                 17         incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
                                 18         Defendant violated Cal. Civ. Code § 1788.17.
                                 19   35.   Through this conduct, Defendant violated Cal. Civ. Code § 1788.13(j) by
                                 20         falsely representing that a legal proceeding was about to be instituted against
                                 21         Plaintiff by Bank of the West through Defendant unless Plaintiff made a
                                 22         payment towards Plaintiff’s debt.
                                 23   36.   The repeated and continuous violations described herein have caused Plaintiff
                                 24         unnecessary stress and anxiety.
                                 25   ///
                                 26   ///
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                                  1                        CAUSES OF ACTION CLAIMED BY PLAINTIFF
                                  2                                           COUNT I
                                  3               VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                  4                            15 U.S.C. §§ 1692-1692(p) (FDCPA)
                                  5   37.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                                  6          as though fully stated herein.
                                  7   38.   The foregoing acts and omissions constitute numerous and multiple violations
                                  8          of the FDCPA.
                                  9   39.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                 10          any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages for
                                 11          a knowing or willful violation in the amount up to $1,000.00 pursuant to 15
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                                 12          U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant to
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                                 13          15 U.S.C. § 1692k(a)(3) from each Defendant individually.
                                 14                                           COUNT II
                                 15         VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                 16                        Cal. Civ. Code §§ 1788-1788.32 (RFDCPA)
                                 17   40.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                                 18          as though fully stated herein.
                                 19   41.   The foregoing acts and omissions constitute numerous and multiple violations
                                 20          of the RFDCPA.
                                 21   42.   As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
                                 22          any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory damages
                                 23          for a knowing or willful violation in the amount up to $1,000.00 pursuant to
                                 24          Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and costs pursuant
                                 25          to Cal. Civ. Code § 1788.30(c) from each Defendant.
                                 26   ///
                                 27   ///
                                 28   ///

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                                  1                                    PRAYER FOR RELIEF
                                  2   WHEREFORE, Plaintiff prays that judgment be entered against each Defendant
                                  3   for:
                                  4          •   An award of actual damages, in an amount to be determined at trial,
                                  5              pursuant to Cal. Civ. Code § 1788.30(a), against each named Defendant
                                  6              individually;
                                  7          •   An award of actual damages, in an amount to be determined at trial,
                                  8              pursuant to 15 U.S.C. § 1692k(a)(1), against Defendant;
                                  9          •   An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code §
                                 10              1788.30(b), against each named Defendant individually;
                                 11          •   An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
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                                 12              1692k(a)(2)(A), against Defendant;
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                                 13          •   An award of costs of litigation and reasonable attorney’s fees, pursuant to
                                 14              Cal. Civ. Code § 1788.30(c), against each named Defendant individually;
                                 15          •   An award of costs of litigation and reasonable attorney’s fees, pursuant to
                                 16              15 U.S.C. § 1692k(a)(3), against Defendant; and,
                                 17          •   Any and all other relief the Court deems just and proper.
                                 18
                                      Dated: June 6, 2017                                            Respectfully submitted,
                                 19
                                 20                                                        KAZEROUNI LAW GROUP, APC
                                 21
                                                                                          By: ___/s/ Matthew M. Loker___
                                 22                                                             MATTHEW M. LOKER, ESQ.
                                                                                                 ATTORNEY FOR PLAINTIFF
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                                  1                                       TRIAL BY JURY
                                  2   43.   Pursuant to the seventh amendment to the Constitution of the United States of
                                  3         America, Plaintiff is entitled to, and demands, a trial by jury.
                                  4
                                      Dated: June 6, 2017                                    KAZEROUNI LAW GROUP, APC
                                  5
                                  6                                                        By: ___/s/ Matthew M. Loker___
                                                                                                 MATTHEW M. LOKER, ESQ.
                                  7
                                                                                                  ATTORNEY FOR PLAINTIFF
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